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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
     V.                                    ) CASE NO: 1:21-CR-00564
                                           )
MATTHEW DASILVA,                           )
                                           )
              DEFENDANT.                   )
__________________________________________)


     DEFENDANT’S UNOPPOSED MOTION FOR LEAVE TO APPEAR BY VIDEO
———————————————————————————————————————


       In a Minute Order dated February 21, 2023, this Honorable Court set Defendant’s

motions to dismiss for an in-person hearing on February 28, 2023. The defendant respectfully

requests leave to appear at this hearing by videoconference and in support thereof states as

follows:

       1. The defendant resides in Texas. Counsel for the Government, Mr. Juman, works out

            of Florida. Defense counsel is local.

       2. It would be a significant financial burden for the defendant to travel from Texas to

            Washington D.C. for this motions hearing. The defendant is on a limited income,

            having been terminated from his steady employment following the arrest for the

            underlying matter.

       3. The defendant requests to appear at the February 28 hearing remotely, via Zoom

            videoconference, as he had done in prior hearings. The defendant waives his right to

            appear in person.


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       4. The government does not oppose a video hearing.

       5. The defense proposes either a Zoom teleconference hearing for all parties or a mixed

            hearing, with the defendant appearing remotely via Zoom and counsel appearing in

            person.

       6. The parties do not believe that appearing remotely or holding a Zoom hearing would

            negatively impact the motions hearing for either side.



WHEREFORE the defendant respectfully requests to be allowed leave to either appear remotely

via Zoom videoconference on February 28, 2023, or to have the motions hearing held remotely

for all parties via Zoom videoconference.

                                              Respectfully submitted,

                                              By Counsel:

                                                     /s/
                                              Marina Medvin, Esq.
                                              Counsel for Defendant
                                              MEDVIN LAW PLC
                                              916 Prince Street
                                              Alexandria, Virginia 22314
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                         CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on February 22, 2023, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
service will be accomplished by the CM/ECF system.

                                                    /s/
                                              Marina Medvin, Esq.

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